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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

RAMSEY ABDALLAH, individually and as
Guardian for RIYANNA ABDALLAH; and
GHADEER ABBASI, individually and as
Guardian for RIYANNA ABDALLAH,

Plaintiffs,

V.

JETBLUE AIRWAYS CORPORATION,
SABRE AIRLINE SOLUTIONS, and JOHN
DOES l-10,

Defendants.

DOCKET NO. 2114-cv-01050 (JLL)(MAH)
NOTICE oF DISMISSAL

Document Electronically Filed

 

 

PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 4l(a)(l)(A)(i), Plaintiffs

hereby voluntarily dismiss With prejudice Count Five of the Second Amended Complaint

(Docket No. 64) as against Defendant Sabre Airline Solutions only.

Dated: August 3, 2015

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